Case 8:20-mj-00194-CBD Document 15 Filed 01/23/20 Page-1t-cfi® ENTERED
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JAN 2% 2020
IN THE UNITED STATES DISTRICT COURT

AT GREENBELT

FOR THE DISTRICT OF MARYLAND CLERK, U.S. DISTRICT COURT
DISTRICT OF MARYLAND
BY DEPUTY
UNITED STATES OF AMERICA *
*
V. # CASE NO. 20-mj-194-CBD

*

WILLIAM GARFIELD BILBROUGHIV, *
Defendant *

*
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GOVERNMENT’S EXHIBIT LIST FOR BAIL REVIEW HEARING

 
 

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